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                                                     Appendix B
                Actionable Consumer Transactions under State Consumer Protection Statutes

State Statute              Law Regarding Consumer Transaction / Privity
Ariz. Consumer Fraud       State ex rel. Woods v. Sgrillo, 859 P.2d 771, 772 (Ariz. Ct. App. 1993) (“Defendants
Act, Ariz. Rev. Stat. §§   seek to avoid this conclusion by arguing that their acts were in aid of a sale by another
44-1521, et seq.           entity. This is of no assistance because A.R.S. § 44-1522 forbids deceptive acts ‘in
                           connection with the sale’ of any merchandise regardless of whether the deceiver is the
                           seller.”).
                           Watts v. Medicis Pharm. Corp., 365 P.3d 944, 952-53 (Ariz. 2016) (rejecting argument
                           that Consumer Fraud Act is not applicable where there was no direct merchant-
                           consumer transaction).
Cal. Consumers Legal    McAdams v. Monier, Inc., 182 Cal. App. 4th 174, 186 (2010) (“[A] cause of action
Remedies Act, Cal. Civ. under the CLRA may be established independent of any contractual relationship
Code §§ 1750, et seq.   between the parties.”) (citing Chamberlan v. Ford Motor Co., 369 F. Supp. 2d 1138,
                        1144 (N.D. Cal. 2005) (“‘Plaintiffs who purchased used cars have standing to bring
                        CLRA claims, despite the fact that they never entered into a transaction directly with’
                        defendant auto manufacturer who manufactured, sold, and distributed automobiles
                        containing an allegedly defective engine part.”)).
Del. Consumer Fraud        Pack & Process, Inc. v. Celotex Corp., 503 A.2d 646, 658 (Del. Super. Ct. 1985) (“The
Act, 6 Del. Code §§        Court, however, is not persuaded that it is necessary to interpret the phrase ‘in
2513, et seq.              connection with’ as requiring that the plaintiff have been involved in the sale . . . or have
                           relied on defendant’s advertisements.”).



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State Statute              Law Regarding Consumer Transaction / Privity
D.C. Consumer              Howard v. Riggs Nat. Bank, 432 A.2d 701, 709 (D.C. 1981) (CPPA permits claims
Protection Procedures      beyond the actual seller of goods or services, and includes anyone “connected with the
Act, D.C. Code §§ 28-      ‘supply’ side of a consumer transaction”).
3904, et seq.              See also In re Processed Egg Prod. Antitrust Litig., 851 F. Supp. 2d 867, 898 (E.D. Pa.
                           2012) (indirect purchaser could bring CPPA claim); Calvetti v. Antcliff, 346 F. Supp. 2d
                           92, 104-05 (D.D.C. 2004) (lack of privity did not exempt defendant from potential
                           CPPA liability).
Fla. Deceptive and         Williams v. Edelman, 408 F. Supp. 2d 1261, 1274-75 (S.D. Fla. 2005) (FDUTPA
Unfair Trade Practices     contains no requirement that the violation be “at the hands of a party who has provided
Act, Fla. Stat. §§         goods or services to that individual” and holding “the relationship between the parties is
501.201, et seq.           irrelevant; the only relevant inquiry being whether the defendant’s violation of the
                           FDUTPA has harmed plaintiff”).
Haw. Unfair Practices      Flores v. Rawlings Co., LLC, 177 P.3d 341, 352, opinion amended on reconsideration,
and Unfair Competition     196 P.3d 289 (2008) (“the statutory structure of HRS chapter 480 does not require that
Statute, Haw. Rev. Stat.   one be a ‘consumer’ of the defendant’s goods or services, but merely a ‘consumer’”).
§§ 480-1, et seq.
Indiana Deceptive          In re Actiq Sales & Mktg. Practices Litig., 790 F. Supp. 2d 313, 326 (E.D. Pa. 2011)
Consumer Sales Act,        (holding that IDCSA does not require a direct transaction between the plaintiff and
Ind. Code §§ 24-5-0.5-     defendant).
1, et seq.                 See also Schmidt Enterprises, Inc. v. State, 354 N.E.2d 247, 253 (1976) (all who
                           participated in a fraudulent scheme were “liable for the harm caused by the scheme—
                           even if their part of the scheme [did] not entail making fraudulent representations”).


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State Statute             Law Regarding Consumer Transaction / Privity
Iowa Private Right of     State ex rel. Miller v. Cutty’s Des Moines Camping Club, Inc., 694 N.W.2d 518, 525-28
Action for Consumer       (Iowa 2005) (holding that Iowa Consumer Fraud Act prohibitions are not limited either
Frauds Act, Iowa Code     to the parties to a consumer transaction or acts prior to or at the time of the transaction
§§ 714H, et seq.          because the “in connection with” sweeps more broadly and “should be interpreted
                          liberally”).
Kansas Consumer           Cole v. Hewlett Packard Co., 84 P.3d 1047 (Kan. Ct. App. 2004) (consumer purchase of
Protection Act, K.S.A.    printer from her employer through employee purchase plan was a “consumer
§§ 50-623, et seq.        transaction” within the scope of the KCPA, in part because KCPA definition of
                          “supplier” applies to entities “whether or not dealing directly with the consumer”)
                          (citing Kan. Stat. § 50-624(j)).
Kentucky Consumer         Bosch v. Bayer Healthcare Pharm., Inc., 13 F. Supp. 3d 730, 750-51 (W.D. Ky. 2014)
Protection Act, Ky. Rev. (denying motion to dismiss plaintiffs’ KCPA claims against manufacturer of allegedly
Stat. §§ 367.110, et seq. defective medical devices under an “exception to the privity requirement when express
                          representations are alleged”); see also Stafford v. Cross Country Bank, 262 F. Supp. 2d
                          776, 793 (W.D. Ky. 2003) (privity not required in every instance).
Minnesota Consumer        Group Health Plan, Inc. v. Philip Morris Inc., 621 N.W.2d 2, 11 (Minn. 2001) (“[A]s
Fraud Act, Minn. Stat.    long as the plaintiff alleges an injury by conduct that violates one or more of the
§§ 325F.68 & 8.31, et     substantive statutes, it is not necessary under subdivision 3a to plead that it is a
seq.                      purchaser of the defendant’s products. . . . The HMOs need not be actual purchasers of
                          the tobacco companies’ products in order to properly plead claims under [the Consumer
                          Fraud Act].”).




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State Statute               Law Regarding Consumer Transaction / Privity
Mississippi Consumer     Miss. Code § 75-24-3 (statute does not define “purchase or lease of goods or services”
Protection Act, Miss.    or otherwise indicate a privity requirement, but requires statutory construction to be
Code §§ 75-24-1, et seq. guided by FTC interpretations of unfair or deceptive trade practices).
Missouri Merchandise        Conway v. CitiMortgage, Inc., 438 S.W.3d 410, 415 (Mo. 2014) (“Given that the
Practices Act, Mo. Rev.     MMPA was enacted to supplement the common law definition of fraud, there is no
Stat. §§ 407.010, et seq.   compelling reason to interpret ‘in connection with’ to apply only when the entity
                            engaged in the misconduct was a party to the transaction at the time the transaction was
                            initiated”); see also Jackson v. Barton, 548 S.W.3d 263, 272 (Mo. 2018) (same).
North Dakota Unlawful       Ackre v. Chapman & Chapman, P.C., 788 N.W. 2d 344, 352 (2010) (business
Sales or Advertising        competitor, not in privity with defendant, could proceed with statutory consumer fraud
Act, N.D. Cent. Code §§     claim in part because statute is not limited to consumer transactions); see also N.D.C.C.
51-15-01, et seq.           § 51-15-09 (stating that the North Dakota Unlawful Sales or Advertising Act “does not
                            bar any claim for relief by any person against any person who has acquired money or
                            property by means of any practice declared unlawful in this chapter.”).
Ohio Consumer Sales         Traxler v. PPG Indus., Inc., 158 F. Supp. 3d 607, 627 (N.D. Ohio 2016) (privity not
Practices Act, Ohio         required to bring consumer fraud claim).
Rev. Code §§ 1345.01,
et seq.




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State Statute             Law Regarding Consumer Transaction / Privity
Pennsylvania Unfair       Valley Forge Towers S. Condo. v. Ron-Ike Foam Insulators, Inc., 574 A.2d 641, 645-47
Trade Practices and       (1990), aff’d, 605 A.2d 798 (1992) (“[T]here is no express requirement that there be
Consumer Protection       strict technical privity between the party suing and the party sued. . . . We conclude that
Law, 73 Pa. Cons. Stat.   strict technical privity was not intended by our legislature to be required to sustain a
§§ 201-2 & 201-3, et      cause of action under 73 P.S. § 201-9.2.”) accord Adams v. Hellings Builders, Inc., 146
seq.                      A.3d 795, 801 (2016) (individuals who purchased a home from a previous owner stated
                          UTPCPL claim against original home builder based on misrepresentations about
                          building quality, despite lack of privity between builder and second purchasers, because
                          misrepresentation harming home owner was foreseeable).
Rhode Island Deceptive    In re Niaspan Antitrust Litig., 42 F. Supp. 3d 735, 763 (E.D. Pa. 2014) (denying motion
Trade Practices Law,      to dismiss claims by end-payor purchasers); In re TFT-LCD (Flat Panel) Antitrust
R.I. Gen. Laws §§ 6-      Litig., 586 F. Supp. 2d 1109, 1130 (N.D. Cal. 2008) (denying motion to dismiss claims
13.1, et seq.             by indirect purchasers under R.I. Gen. Laws §§ 6-13.1-1, et seq.).
South Dakota Deceptive In re DDAVP Indirect Purchaser Antitrust Litig., 903 F. Supp. 2d 198, 229 (S.D.N.Y.
Trade Practices and    2012) (denying motion to dismiss claims by indirect purchasers under South Dakota
Consumer Protection    Deceptive Trade Practices Act).
Act, S.D. Codified
Laws, §§ 37-24-1, et
seq.




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State Statute             Law Regarding Consumer Transaction / Privity
Texas Deceptive Trade     Kennedy v. Sale, 689 S.W.2d 890, 892-93 (Tex. 1985) (“Privity between the plaintiff
Practices-Consumer        and defendant is not a consideration in deciding the plaintiff’s status as a consumer
Protection Act, Texas     under the DTPA. . . . A plaintiff establishes his standing as a consumer in terms of his
Bus. & Com. Code §§       relationship to a transaction, not by a contractual relationship with the defendant. The
17.41, et seq.            only requirement is that the goods or services sought or acquired by the consumer form
                          the basis of his complaint.”); see also Flenniken v. Longview Bank & Tr. Co., 661
                          S.W.2d 705, 707 (Tex. 1983) (plaintiffs were not “required to seek or acquire goods or
                          services from [defendant] in order to meet the statutory definition of a consumer”).
                          Cf. Lara v. Lile, 828 S.W.2d 536, 542 (Tex. App. 1992), writ denied (July 1, 1992)
                          (cited by Equifax) (in wrongful death action, decedent construction worker was not a
                          consumer for purposes of DTPA where he was accidentally killed by the defendant, a
                          subcontractor also hired to perform construction work on the site; court nonetheless
                          acknowledged that the DTPA does not require privity).
Utah Consumer Sales      Utah Code § 13-11-3(6) (liability for unlawful sales practices in connection with
Practices Act, Utah      consumer transactions can attach to a “Supplier” “whether or not he deals with the
Code §§ 13-11-1, et seq. consumer”); In re Packaged Seafood Prod. Antitrust Litig., 242 F. Supp. 3d 1033, 1087
                         (S.D. Cal. 2017) (end payor purchasers plead viable claim).
Vermont Consumer          Elkins v. Microsoft Corp., 817 A.2d 9, 20 (Vt. 2002) (privity not a requirement for a
Fraud Act, Vt. Stat.      VCFA claim); cf. Knutsen v. Dion, 90 A.3d 866, 873 (2013) (cited by Equifax) (real
Ann. Tit. 9 §§ 2451, et   estate association lacked adequate involvement in a consumer transaction for CFA
seq.                      liability where it merely made a form sales contract available on its website to broker,
                          who then selected allegedly deceptive contract language in executed contract with
                          plaintiff).


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State Statute            Law Regarding Consumer Transaction / Privity
Virginia Consumer        Alexander v. Se. Wholesale Corp., 978 F. Supp. 2d 615, 622 (E.D. Va. 2013) (direct sale
Protection Act, Va.      to a consumer is not required for the transaction to be covered by the VCPA).
Code Ann. §§ 59.1-196,
et seq.
West Virginia            Smith v. Collection Techs., Inc., 2016 WL 1169529, at *9-10 (S.D. W. Va. Mar. 22,
Consumer Credit and      2016) (motion to dismiss WVCCPA claim against debt collector denied).
Protection Act, W. Va.
Code §§ 46A-6-101, et
seq.
Wis. Deceptive Trade      Blitz v. Monsanto Co., 2018 WL 1785499, at *8 (W.D. Wis. Apr. 13, 2018) (indirect
Practices Act, Wis. Stat. purchaser alleged viable claim against manufacturer).
§§ 100.18, et seq.




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